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                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                Case Number: 19-cr-20450-SCOLA

   UNITED STATES OF AMERICA,

                         Plaintiff,
                  v.                                              EX PARTE
                                                               FILED UNDER SEAL
   ALEX NAIN SAAB MORAN,

                         Defendant.
   ___________________________________/

          The United States of America, having applied to this Court for an Order sealing the Ex

   Parte Notice Of Additional Facts In Support Of Response In Opposition To Defendant’s Motion

   To Vacate Order Conferring Fugitive Status And For Leave For Special Appearance To Challenge

   Indictment (“Ex Parte Notice”), and the Court finding good cause:

          IT IS HEREBY ORDERED that the United States’ Ex Parte Notice, motion to seal, any

   resulting Order, and any order concerning the United States’ Ex Parte Notice, shall be filed under

   seal until further order of this Court, except that, the United States Attorney’s Office and the

   Department of Justice, Criminal Division, Fraud Section may obtain copies of the Ex Parte Notice,

   any Motion, related order, or other sealed document for any necessary cause.

          DONE AND ORDERED in chambers at Miami, Florida, this ___ day of February, 2021.



                                                       ____________________________________
                                                       Hon. Robert N. Scola, Jr.
                                                       United States District Court Judge


   cc: Kurt K. Lunkenheimer, AUSA
       Alexander Kramer, Trial Attorney
